           Case 2:05-cr-00542-GEB Document 214 Filed 12/17/10 Page 1 of 2


 1   ALEX R. KESSEL (State Bar No. 110715)
     16542 Ventura Blvd.
 2   Suite 305
     Encino, California 91436-2746
 3   Telephone: (818) 995-1422
     Facsimile: (818) 788-9408
 4   Email: kessellaw@sbcglobal.net
 5
     Attorney for Defendant
 6   NAM PHAMTRAN
 7
 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   CASE NO.: 2:05-CR-542-GEB
                                                     )
12                          Plaintiff,               )   STIPULATION AND
                                                     )   ORDER TO VACATE STATUS
13   vs.                                             )   CONFERENCE AND SET CHANGE OF
                                                     )   PLEA
14   THO LE, et. al.,                                )
                                                     )
15                          Defendants.              )
                                                     )
16
17            It is hereby stipulated and agreed to between the United States of America through Matthew
18   C. Stegman, Assistant United States Attorney and defendant, NAM PHAMTRAN, by and through
19   his counsel, Alex R. Kessel, defendant,, that the status conference currently set for December 17,
20   2010 at 9:00am, be vacated and a change of plea hearing be set for January 14, 2011 at 9:00am.
21            Defendant NAM PHAMTRAN has executed a plea agreement in this matter.
22            IT IS FURTHER STIPULATED that the period from December 17, 2010 through and
23   including January 14, 2011, be excluded in computing the time within which trial must commence
24   under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for
25   continuity and preparation of counsel and 18 U.S.C. §§3161(h)(8)(B)(ii) and Local Code T2 for
26   complexity.
27
28


                                                         1
       Case 2:05-cr-00542-GEB Document 214 Filed 12/17/10 Page 2 of 2


 1   Dated: December 16, 2010          Respectfully submitted,
 2
 3                                     /s/ Alex R. Kessel
                                       _______________________
 4                                     ALEX R. KESSEL
                                       Attorney for Defendant
 5                                     NAM PHAMTRAN
 6
 7
 8   Dated: December 16, 2010          BENJAMIN B. WAGNER
                                       United States Attorney
 9
10
                                       /s/ Alex R. Kessel for
11                                     ______________________
                                       MATTHEW C. STEGMAN
12                                     Assistant United States Attorney
13
14
15
16
                                        ORDER
17
18
     IT IS SO ORDERED:
19
20   Dated: December 16, 2010

21
22                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
23
24
25
26
27
28


                                           2
